Case No. 1:08-cv-01738-ZLW Document 4 filed 10/02/08 USDC Colorado pgiof3

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

UNITED fl U E DH

Civil Action No. 08-cv-01738-BNB DENveR STRICT Coury

ORANG
MIGUEL FACUNDO, OCT O° 2008
Plaintiff, SREGoRY ¢ LANGHAy
Vv. , a ANY
CLERus

LEWISBURGH PENNSYLVANIA SPECIAL HOUSING UNIT,

Defendant.

ORDER OF DISMISSAL

Plaintiff Miguel Facundo initiated this action by filing a pro se Prisoner
Compiaint. On August 15, 2008, Magistrate Judge Craig B. Shaffer entered an order
directing the Clerk of the Court to commence a civil action and instructing Mr. Facundo
to cure certain deficiencies if he wished to pursue his claims. Specifically, Magistrate
Judge Shaffer ordered Mr. Facundo to file a Prisoner's Motion and Affidavit for Leave to
Proceed Pursuant to 28 U.S.C. § 1915, to name the same defendants in both the
caption and the text of the Prisoner Complaint, and to provide Pages Six through Eight
of the Prisoner Complaint form. Mr. Facundo was warned that the Complaint and the
action would be dismissed without further notice if he failed to cure the deficiencies
within thirty days.

Mr. Facundo has failed to cure the deficiencies within the time allowed.

Therefore, the Complaint and the action will be dismissed. Accordingly, it is
Case No. 1:08-cv-01738-ZLW Document 4 filed 10/02/08 USDC Colorado pg 2of3

ORDERED that the Complaint and the action are dismissed without prejudice for

failure to cure the deficiencies.

DATED at Denver, Colorado, this Zaay of Ot , 2008.

BY THE COURT:

ZITA/L. WEINSHIENK, Senior Judge
United States District Court
Case No. 1:08-cv-01738-ZLW Document 4 filed 10/02/08 USDC Colorado pg 3of3

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

CERTIFICATE OF MAILING

Civil Action No. 08-cv-01738-BNB

Miguel Angel Facundo-Guzman
Reg. No. 06703-010

USP - Lewisburg

PO Box 1000

Lewisburg, PA 17837

| hereby certify that | have mailed a copy of the ORDER AND JUDGMENT to the
above-named individuals on IAI

GREGORY Cc} LANGHAM, CLERK

puty Clerk

